                                                                FILED IN OPEN COURT
                                                                ON ~IU.-11 f?~
                                                                    Peter A. Moore, Jr., Clerk
                                                                    us District Court
                                                                    Eastern District of NC
                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                            No.   3: l1·cv. . 91" . I bl (i)
                            No.   ~q1-ev-9J-2Hl2.)
                            NO.   :i: 11--·C\f"-9"3-~3H a.\
UNITED STATES OF AMERICA,

              v.                                   INDICTMENT

JAMES SPENCER BELL,
LAMONT ANDRE COVINGTON, and
GARRON MCMILLIAN

         The Grand Jury charges.that:

                                COUNT ONE
                          21 U.S.C. § 841(a) (1)
           (Possession with Intent to Distribute Cocaine Base)

         On or about May 20, 2016,         in the Eastern District of North

Carolina, JAMES SPENCER BELL, the defendant herein, did knowingly

and   intent~onally      possess with intent to distribute a quantity of

a mixture and substance containing a detectible amount of cocaine

base,     a Schedule II controlled substance,          in violation of Title

. 21, United States Code, Section 841 (a) (1).

                                     COUNT TWO
                             18 U.S.C. § 924 (c) (1) (A)
                   (Possession of~ Firearm in" Furtherance of
                            a Drug Trafficking Crime)

         On or about May 20,      2016,    in the Eastern District of North

Carolina,     JAMES SPENCER BELL,         the defendant herein,       did· use and

 c~rry   a firearm during and in relation to a drug trafficking crime

for which he may be prosecuted in a court of the United States,



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that is, possession with intent to distribute a quantity of cocaine

base, ·a Schedule II controlled substance,                as s·et forth in Count

One of this Indictment, and did possess said firearm in furtherance

of said crime.

      It is further alleged that said firearm was brandished in

violation       of         Title     18      United    States    Code,      Section

924 (c) (1) (A) (ii).

      It is further alleged that said firearm was discharged in

violation       of         Title     18      United    States    Code,      Section

924 (c) (1)· (A) (iii).

      All in violation of Title 18,               United States Code,       Section

924 (c) (1) (A).

                                  COUNT THREE
                           18 U.S.C. § 924 (c) (1) (A)
                     (Possession of a Firearm by         a
                                                       Felon)

      On or about May 20,            2016,    in the Eastern District of North

Carolina,    JAMES SPENCER BELL,             the defendant herein,    having been.

convicted     of     a. crime       punishable   by    imprisonment   for   a     term

exceeding one        (1)    year,   did knowingly possess,      in and affecting

commerce, a firearm, in violation of Title 18, United States Code,

Sections 922 (g) (1) and 924.

                                  COUNT FOUR
                           18 U.S.C. § 924(c) (1) (A)
                     (Possession of a Firearm by a Felon)

      On or about May 20,            2016,    in the Eastern District of North

Carolina,    LAMONT ANDRE           COVINGTON,   the   defendant herein,        having

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     been convicted of a crime punishable by imprisonment for a term

         exceeding one   (1)    year,    did knowingly possess,    in and affecting

         commerce, a firearm, in violation of Title 18, United States Code,

         Sections 922(g) (1) and(924.
1.

                                     COUNT FIVE
                               21 'u.s.c. § 841(a) (1)
                (Possession with Intent to Distribute Cocaine Base)

     •        On or about February 10,         2017,    in the Eastern District of

     North Carolina,           JAMES    SPENCER BELL,   the   defendant   herein,   did

         knowingly and intention~lly possess with intent to distribute a

         quantity of· a mixture and substance containing a detectible amount

     of cocaine base, a Schedule II controlled substance, in violation

         of Title 21, United States Code, Section 841 (a) (1).

                                       COUNT SIX
                               18 U.S.C. § 924(c) (1) (A)
                     (Possession of a Firearm in Furtherance of
                              a Drug Trafficking Crime)

              On or about February 10,         2017,    in the Eastern District o.f

     North Carolina, JAMES SPENCER BELL, the defendant herein, did use

     and carry a firearm during and in relation to a drug trafficking

     crime for which he may be prosecuted in a court of the United

     States, that is, possession with intent to distribute a quantity

     of cocaine base, a Schedule II controlled substance, as set forth

     in Count Five of this Indictment, and did possess said firearm in

     furtherance of      s~id     crime,    all in violation of Title 18, United

     States Code, Sections 924(c).


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                              COUNT SEVEN
                  (Possession of a Firearm by a Felon)

        On or about February 10,           2017,   in the Eastern District of

North    Carolina,      JAMES    SPENCER    BELL ·and   GARRON   MCMILLIAN,   the

defendants herein,        aiding and abetting each other,           each having.

been convicted of a crime punishable by imprisonment for a term

exceeding one     (1)    year,    did knowingly possess,     in and   ~ffecting


commerce, firearm(s), in violation of Title 18, United States Code,
             c


Sections 922(g)(l), 924, and 2.




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                           ALLEGATION OF PRIOR CONVICTIONS

          For purposes of Title 21, United States Code, Sections.84l(b)

     and 851, the defendant herein, JAMES SPENCER BELL, committed the

     violations alleged in Counts One and Five of the Indictment after

     at least one    (1)    prior conviction for a felony drug offense as

     defined in Title       21,   United States   Code,   Section   802 (44),   had

     become final.




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v'




                                           FORFEITURE NOTICE

              The      defendants    are     given       notice   that     pursuant   to     the

     provisions 0£ Title 21, United States Code, Section 853 that all

     0£ their interest in all property specified herein is subject to

     forfeiture.

           As a result of the foregoing offense,                     the    def~ndants     shall

     forfeit to the United States any and all property constituting, or

     derived         from,   any proceeds      the       defendant   obtained directly or

     indirectly as a result of the said offense and any and all property

     used or intended to be used in any manner or part to commit or to

     facilitate the commission of the offens~ alleged in the Indictment,

     or any property traceable to such property.                         The property to be

     forfeited to         th~   United States includes, but is not limited to' the

     following property:

        (a)         Glock, model 32, .357 caliber semi-automatic pistol bearing
                    serial number ZXZ2122;
        (b)         Cobra, model CA389. ~ 380, caliber semi-automatic pistol
                    bearing serial number CP029778;
        (c)         Glock, model 23, .40 caliber pistol bearing serial number
                    STX649;
        ( d)        Springfield, model XD45 ACP,, . 45 caliber semi-automatic
                    pistol .bearing serial number US738 69·0; and
        ( e)        All related ammuhition.

               If    any . of the   above-described          forfei table    property,     as   a

     result of any act or           omi~sion    a defendant,

               (1) cannot be located upon the exercise of due dili,gence;

               (2)    has been transferred or sold to,               or deposited with,         a

               third person;

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      (3) has been placed beyond the jurisdiction of the court;

      (4)· has been substantially diminished in value; or

      (5)   has been commingled with other property which cannot be

.subdivided without      difficulty;    it   is   the   intent of the    United

States to seek forfeiture of any other property of the defendant

up   to   the   value   of   the   above-described      forfeitable   property,

pursuant to Title 21, United States Code, Section 853(p).




JOHN STUART BRUCE
United States Attorney .



BY: ·DANIEL P. BUBAR
Assistant United States Attorney
Criminal Division




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